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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TANISIA N. BAKER, a resident of Georgia

                       Plaintiff,
         v.

 CARL WEBER, a resident of New York,
 individually and as officer of URBAN
 BOOKS, LLC, URBAN BOOKS MEDIA,                  Civil Action No. 1:19-cv-01093 (VSB)
 LLC and KENSINGTON PUBLISHING
 CORPORATION, URBAN BOOKS, LLC,
 d/b/a URBAN AUDIOBOOKS, a New York
 limited liability company, URBAN BOOKS          ECF Case
 MEDIA, LLC, a New York limited liability
 company; KENSINGTON PUBLISHING
 CORPORATION a New York corporation,             CLERK’S CERTIFICATE OF
 VICKIE STRINGER, individually and as an         DEFAULT
 officer of VICKIE STRINGER
 PUBLISHING LLC d/b/a TRIPLE CROWN
 PUBLICATIONS, VICKIE STRINGER
 AGENCY LLC d/b/a TRIPLE CROWN
 PUBLICATIONS, VICKIE STRINGER
 PUBLISHING LLC d/b/a TRIPLE CROWN
 PUBLICATIONS and VICKIE STRINGER
 AGENCY LLC d/b/a TRIPLE CROWN
 PUBLICATIONS.
                      Defendants.


   I, RUBY J. KRAJICK, Clerk of the United States District Court for the Southern District of

New York, do hereby certify that this action was commenced on February 6, 2019 with the filing

of a summons and complaint.

   A copy of the summons and complaint was served on defendants VICKIE STRINGER,

VICKIE STRINGER PUBLISHING LLC and VICKIE STRINGER AGENCY LLC as follows:

   A first attempt for service was made for service upon Vickie Stringer in her personal
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capacity and as an officer of VICKIE STRINGER PUBLISHING LLC and VICKIE

STRINGER AGENCY LLC on February 26, 2019 at 7:40 pm at Vickie Stringer’s

residence at 3124 Genevieve Drive, Columbus, OH 43219. An African-american male in

his mid to late 30's answered the door. The server said he had a delivery for Vickie Stinger

and the man responded that it was too late and they were not interested, as the server was

advising him it was a legal notice the male shut the door. He did confirm Vickie did reside

at this location. Dkt. # 36-1.

   A second attempt was made on February 28th , 2019 at 3:45 pm but there was no response.

   A third attempt was made on March 2nd, 2019 at 9:45 am. Again no one answered the door

even though, it appeared that someone was at the residence. Dkt. # 36-1.

   Additionally, the process server attempted to serve Ms. Stringer on March 9, 2019 at

3:10 pm at the re-routed location at 2959 Stelzer Road, Suite A, Columbus, Ohio 43219. The

location was found to be Unique Image Salon. Employee said they did not know a Vickie

and she did not work or occupy this location. Dkt. # 36-1.

   On March 11th, 2019 at 5:35 pm the process server attempted to serve Ms. Stringer again at

the residential location at 3124 Genevieve Drive, Columbus, OH 43219. The same black male

came to the door and walked away. The server advised him through the door that it was a legal

notice for Vickie Stringer and he was leaving/posting it at the front door for her. There was no

further response. As the server was pulling out a neighbor was pulling in her driveway, the server

stopped her and asked if she knew if a Vickie Stringer resided at 3124 Genevieve and she said

yes, she said she did not personally know her but knew that was who resided there. Dkt. # 36-1.




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   On March 22, 2019 the server mailed the summons and Complant (Docket No.5) to Ms.

Stringer’s last known residence at 3124 Genevieve Drive, Columbus, OH 43219. On April 11,

2019 the Proof of Service was filed with the Court. Dkt. # 36.

   In addition, on March 18, 2019 the server served the summons and Complaint (Docket No. 5)

on VICKIE STRINGER AGENCY LLC by personally serving the summons and complaint

upon Mary Bailey at 180 E Broad Street, Columbous, OH 43215, as the designated agent for the

Ohio Secretary of State to accept service of process on behalf of VICKIE STRINGER AGENCY

LLC. Plaintiff filed proof of service on April 16, 2019, Dkt. # 37.

   In addition, on March 18, 2019 the server served the summons and Complaint (Docket No. 5)

on VICKIE STRINGER PUBLISHING LLC., by personally serving the summons and

complaint upon Mary Bailey at 180 E Broad Street, Columbous, OH 43215, as the designated

agent for the Ohio Secretary of State to accept service of process on behalf of VICKIE

STRINGER PUBLISHING LLC. Plaintiff filed proof of service on April 16, 2019, Dkt. # 38.

   I further certify that the docket entries indicate that the defendants VICKIE STRINGER,

VICKIE STRINGER AGENCY LLC and VICKIE STRINGER PUBLISHING LLC have not

filed an answer through counsel or otherwise moved with respect to the Complaint herein. The

default of defendants VICKIE STRINGER, VICKIE STRINGER AGENCY LLC and VICKIE

STRINGER PUBLISHING LLC is hereby noted.


       Dated: New York, New York
              ____________, 20___                    RUBY J. KRAJICK
                                                     Clerk of Court

                                                     By: _______________
                                                            Deputy Clerk


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